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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA,           )
                                    )
            v.                      )  Case No. 17-cr-201-1-ABJ
                                    )
PAUL J. MANAFORT, JR.,              )
                                    )
                  Defendant.        )
____________________________________)
                                    )
IN RE: PETITIONS FOR RELIEF         )
CONCERNING CONSENT ORDER OF )          Case No. 1:18-mc-00167-ABJ
FORFEITURE                          )
____________________________________)

    CONSENT MOTION FOR ENTRY OF FINAL ORDER OF FORFEITURE AS TO
            721 FIFTH AVENUE, UNIT 43G, NEW YORK, NY 10022

        The United States of America, by and through its undersigned counsel, respectfully

submits this motion pursuant to Fed. R. Crim. P. 32.2(c)(2) for entry of a Final Order of

Forfeiture Motion with respect to the real property, 721 Fifth Avenue, #43G, New York, New

York, 10022, that is subject to a preliminary order of forfeiture in this action. March 13, 2019,

Order of Forfeiture, Cr. Dkt. Nos. 549, 556-1. 1 As set forth below, the time period for the

submission of third party petitions to contest forfeiture pursuant to 21 U.S.C. § 853(n) has

closed, and all such petitions have been resolved by settlements endorsed by the Court.

        A proposed Final Order of Forfeiture Final Order of Forfeiture as to 721 Fifth Avenue,

#43G, New York, New York, 10022 is submitted with this motion. The proposed order sets out

in more detail the facts and procedural history summarized below.




1
 Docket entries from United States v. Paul J. Manafort, Jr., Case No. 17-cr-201-1 (D.D.C.) are referred to as “Cr.
Dkt. No.”. Docket entries from the miscellaneous case number for the ancillary proceedings In Re: Petitions for
Relief Concerning Consent Order of Forfeiture, Case No: 1:18-mc-167 (D.D.C.) are referred to as “Mc. Dkt. No.”.

                                                         1
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I.     The Property Subject to the Proposed Final Order of Forfeiture

       This motion seeks entry of a Final Order of Forfeiture regarding the following (the “Fifth

Avenue Property”):

              The real property and premises commonly known as 721 Fifth
              Avenue, #43G, New York, New York, 10022.

       This property is listed in the preliminary order of forfeiture at paragraph 2(i). March 13,

2019, Order of Forfeiture, Cr. Dkt. No. 549, Cr. Dkt. No. 556-1.

       The Fifth Avenue Property is more specifically described in its Deed as:

              The residential Unit (The "Unit") known as Unit No. 43-G, in the premises
              known as Trump Tower Condominium and by the street numbers 721-725
              Fifth Avenue, Borough of Manhattan, City, County and State of New
              York, being designated and described as Unit No. 43-G in the Declaration
              Establishing a plan for condominium ownership of said premises under
              Article 9-B of the Real Property Law of the State of New York (The New
              York Condominium Act") dated 2/24/1983 and recorded in the New York
              County Office of the Register of the City of New York (The "City
              Register's Office") on 3/23/1983 in Reel 674, Page 848 (Hereinafter,
              referred to as the "Declaration") and also designated as Tax Lot 1112 in
              Block 1292 of Section 5 of the Borough of Manhattan on the Tax Map of
              the Real Property Assessment Department of the City of New York and on
              the Floor Plans of building, certified by Swanke Hayden Connell and
              Partners, Architects, on 2/2/1983 and filed with the Real Property
              Assessment Department of the City of New York on 3/18/1983 as
              Condominium Plan No. 86 and Also filed in the City Register's Office on
              3/23/1983 as Condominium Plan No. 86. Together with an undivided
              .2644227 percent interest in the common elements (as such term is defined
              in the declaration). The premises in which the unit is located is more
              particularly described herein as Parcel A.
              PARCEL A: All that certain lot, piece or parcel of land, situate, lying and
              being in the Borough of Manhattan, City, County and State of New York,
              Bounded and described as follows: Beginning at the corner formed by the
              intersection of the Northerly side of East 56th Street with the Easterly side
              of Fifth Avenue; Running thence Easterly along the said Northerly side of
              East 56th Street, 175 feet; Thence Northerly parallel with said Easterly
              side of Fifth Avenue and part of the distance through A Party Wall, 100
              feet 5 inches to the Center Line of the Block; Thence Westerly along said
              Center Line of the Block, 50 Feet; Thence Northerly parallel with the
              Easterly side of Fifth Avenue, 15 Feet; Thence Westerly parallel with the
              Northerly side of East 56 Street 125 feet to the Easterly side of Fifth

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                  Avenue, and Thence Southerly along the Easterly side of Fifth Avenue,
                  115 feet 5 inches to the point or place of Beginning.
                  PARCEL B: (AFFECTS COMMON ELEMENTS) All that certain lot,
                  piece or parcel of land, situate, lying and being in the Borough of
                  Manhattan, City, County and State of New York, bounded and described
                  as follows: Beginning at a point on the Southerly side of East 57th Street,
                  distant 125 Feet Easterly from the intersection of the Easterly side of Fifth
                  Avenue and the Southerly side of 57th Street; Thence Southerly and
                  parallel with the Easterly side of Fifth Avenue, 100 feet 5 inches; Thence
                  Easterly and parallel with the Southerly side of 57th Street, 50 Feet;
                  Thence Northerly and again parallel with the Easterly side of Fifth
                  Avenue, 100 feet 5 inches to the Southerly side of 57th Street; Thence
                  Westerly along the Southerly side of 57th Street 50 feet to the point or
                  place of Beginning. 2
                  APN: Block 1292, Lot 1112

II.      Background

         On September 14, 2018, the defendant, Paul J. Manafort, Jr., pleaded guilty to a two-

count Superseding Criminal Information ("Information") charging in Count One, inter alia, a

conspiracy to violate the Foreign Agents Registration Act ("FARA"), in violation of Title 18,

United States Code, Section 371 and 3551 et seq. and Title 22, United States Code, Sections 612,

618(a)(l), and 618(a)(2). Cr. Dkt. Nos. 419, 422, 423. The Information gave notice that upon

conviction under Count One, the United States would seek entry of a money judgment of

forfeiture, as well as forfeiture of certain specific properties, including, inter alia, “All funds held

in account number XXXX7988 at Charles A. Schwab & Co. Inc., and any property traceable

thereto…” (the “Schwab Account”), pursuant to 18 U.S.C. §§ 981(a)(1)(C) and 982(b), 21

U.S.C. § 853(p), and 28 U.S.C. § 2461(c). Cr. Dkt. No. 419 at ¶69.

         In his Plea Agreement, the defendant admitted to the forfeiture allegations in the

Information, and, in his Statement of the Offenses and Other Acts, he admitted that he obtained

at least $11,000,000 as a result of his conspiracy to violate the FARA in violation of 18 U.S.C. §


2
 This legal description, which is also included in the proposed Final Order of Forfeiture, cures two minor
scrivener’s punctuation errors in the legal description of the property attached to the Notice of Forfeiture.

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371, 22 U.S.C. §§ 612 and 618. Cr. Dkt. No. 422 at 10, 423 at 2-3. He also consented, inter alia,

to the forfeiture of the Fifth Avenue Property in lieu of the Schwab Account, the Schwab

Account having been identified in the Information as subject to forfeiture as proceeds traceable

to the conspiracy to violate FARA offense alleged in Count One, or property traceable thereto,

pursuant to 18 U.S.C. § 981(a)(l)(C) and 28 U.S.C. § 2461(c). Cr. Dkt. No. 422 at ¶12(a)(9), Cr.

Dkt. No. 423 at ¶ 43(i). The defendant also consented to the forfeiture of the Fifth Avenue

Property as a substitute asset pursuant to 18 U.S.C. § 982(b), 21 U.S.C. § 853(p), and 28 U.S.C.

§ 2461(c). Cr. Dkt. No. 422 at ¶12(b), Cr. Dkt. No. 423 at ¶43(i).

       On October 10, 2018, with the defendant’s consent, the Court entered a Consent Order of

Forfeiture signed by the Court on October 9, 2018, constituting a preliminary order of forfeiture

(“Consent Order of Forfeiture”). Cr. Dkt. No. 443. In the Consent Order of Forfeiture, this

Court found: “based on the evidence and information before it, including the defendant’s plea

agreement, that [inter alia, the Fifth Avenue Property] is subject to forfeiture” and so ordered its

forfeiture. CR Dkt. No. 443 at 3-4.

       At sentencing on March 13, 2019, the Court amended the preliminary order of forfeiture

and incorporated the revised order into the criminal judgment. See March 13, 2019, Order of

Forfeiture. Cr. Dkt. Nos. 549, 556-1. The Information, Plea Agreement and Statement, along

with the record in this case, establish the requisite nexus between the Schwab Account and the

defendant’s offense, and that the defendant has an interest in the Fifth Avenue Property. The

March 13, 2019, Order of Forfeiture entered forfeiture pursuant to 18 U.S.C. §§ 981(a)(1)(C) and

982(b), 21 U.S.C. § 853(p), and 28 U.S.C. § 2461(c), and included forfeiture of the Fifth Avenue

Property, other specific Forfeited Assets, and a Personal Money Judgment of Forfeiture in the

amount of $11 million to be offset by the forfeiture of the specific Forfeited Assets. Id. at ¶¶1-4.



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III.   Entry of a Final Order of Forfeiture is Appropriate

       The United States seeks entry of a final order of forfeiture with respect to the Fifth

Avenue Property pursuant to Federal Rule of Criminal Procedure 32.2 and 21 U.S.C. § 853, as

incorporated by 18 U.S.C. § 982(b). Rule 32.2(b)(4)(A) provides:

               At sentencing – or at any time before sentencing of the defendant
               consents – the preliminary forfeiture order becomes final as to the
               defendant. If the order directs the defendant to forfeit specific
               property, it remains preliminary as to third parties until the
               ancillary proceeding is concluded under Rule 32.2(c).

Fed. R. Crim. P. 32.2(b)(4)(A). Under Title 21 U.S.C. § 853(n)(7), the United States shall have

clear title to any forfeited property following the Court’s disposition of all petitions and the

expiration of the time period provided for the filing of petitions. Because the Court’s March 13,

2019, Order of Forfeiture is final as to the defendant, notice of the forfeiture was provided in

accordance with the Federal Rules, and the interests of all third parties asserting an interest in the

property have been resolved by settlement, entry of the requested final order is appropriate.

       By its terms, the March 13, 2019 Order of Forfeiture became final as to the defendant

upon its entry, and was made part of his sentence and included in the judgment pursuant to Rule

32.2(b)(4) of the Federal Rules of Criminal Procedure. Cr. Dkt. Nos. 549, 556-1 at ¶10.

Accordingly, the defendant retains no interest in the Fifth Avenue Property.

       However, an order of forfeiture as to a defendant for specific property does not address

the interests that a third party may have in that property. Fed. R. Crim. P. 32.2(b)(2)(A) (“The

Court must enter the [forfeiture] order without regard to any third party’s interest in the

property.”). It remains a preliminary order as to third parties until the ancillary proceeding is

completed. Fed. R. Crim. P. 32.2(b)(4)(A).




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        The purpose of the ancillary proceeding is to “resolve” any third party claims to specific

property subject to a forfeiture order. United States v. Cox, 575 F.3d 352, 358 (4th Cir. 2009);

see also Fed. R. Crim. P. 32.2(b)(2)(A) (Determination of third party interest is “deferred until

any third party files claim in an ancillary proceeding.”). The Government commences the

ancillary proceeding by publishing notice of the forfeiture order and “send[ing] notice to any

person who reasonably appears to be a potential claimant with standing to contest the forfeiture.”

Fed. R. Crim. P. 32.2(b)(6)(A); see also 21 U.S.C. § 853(n)(1) (Government must publish notice

of the order and “may also, to the extent practicable, provide direct written notice to any person

known to have alleged an interest in the property.”). A third party must file a claim “within

thirty days of the final publication of notice or his receipt of [direct] notice . . . whichever is

earlier.” 21 U.S.C. § 853(n)(2).

        As set forth in the United States’ Declaration of Notice and Publication, Cr. Dkt. No. 545,

the United States provided notice in accordance with 21 U.S.C. § 853(n)(1), Rule 32.2(b)(6) of

the Federal Rules of Criminal Procedure, and Rule G(4) of the Supplemental Rules for

Admiralty or Maritime Claims and Asset Forfeiture Actions. This notice included notice by

publication, as well as direct written notice to persons who reasonably appeared to be a potential

claimant with standing to contest the forfeiture in the ancillary proceeding or who were known to

have alleged an interest in the forfeited property, including, but not limited to: Kathleen

Manafort, UBS Bank USA (“UBS Bank”), and the condominium association, Trump Tower

Condominium. Cr. Dkt. No. 545.

        Following notice of the Consent Order of Forfeiture, only two interested parties asserted

an interest in the Fifth Avenue Property: UBS Bank and the Residential Board of Trump Tower

Condominium. See Mc. Dkt. Nos. 4, 13.



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         On February 21, 2019, the Court endorsed a Stipulation and Order of Settlement between

the United States and UBS Bank resolving its petition concerning the Fifth Avenue Property (the

“UBS Bank Stipulation and Order”). Mc. Dkt. No. 43 (docketed on February 22, 2019). On

March 1, 2019, the Court endorsed a Stipulation and Order of Settlement between the United

States and the Residential Board of Trump Tower, acting on its own behalf and on behalf of

Trump Tower Condominium, resolving its petition concerning the Fifth Avenue Property (the

“Trump Tower Condominium Stipulation and Order”). Mc. Dkt. No. 47 (docketed on March 4,

2019).

         Under the UBS Bank Stipulation and Order and the Trump Tower Condominium

Stipulation and Order, the petitions of these parties were dismissed upon the Court’s

endorsement of the settlements. Mc. Dkt. Nos. 43 ¶2, 47 at ¶2. However, the UBS Bank

Stipulation and Order and the Trump Tower Condominium Stipulation and Order are expressly

incorporated into and attached to the proposed Final Order of Forfeiture. See proposed Final

Order of Forfeiture at ¶¶ 1, 3, 4.

         No other petitions were filed or made in this action as to the Fifth Avenue Property, no

other parties have appeared to contest its forfeiture, and the statutory time periods in which to do

so for all known potential claimants have expired. Pursuant to Title 21 U.S.C. § 853(n)(7),

because all petitions have been resolved, the United States is therefore entitled to have clear title

to the Fifth Avenue Property and to warrant good title to any subsequent purchaser or transferee.

IV.      Conclusion

         Pursuant to Rule 32.2(c)(2) of the Federal Rules of Criminal Procedure, “[w]hen the

ancillary proceeding ends, the court must enter a final order of forfeiture by amending the

preliminary order as necessary to account for any third-party rights.” The government may also



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“request an order from the court declaring that the government has met all of the statutory notice

requirements, that no meritorious third-party claims were filed, and that the government has clear

title to the forfeited property.” United States v. Gilbert, 244 F.3d 888, 913 (11th Cir. 2001).

       Counsel for the United States has conferred with counsel for UBS Bank and the

Residential Board of Trump Tower, which do not oppose this motion.

       Wherefore, the United States respectfully requests that the Court enter the proposed Final

Order of Forfeiture as to the Fifth Avenue Property, as attached.

                                              Respectfully submitted,

                                              JESSIE K. LIU
                                              United States Attorney

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 24, 2019, I have provided notice of the forgoing through the

Court’s Electronic Filing System to such counsel of record or pro se litigants as have consented

to accept service through such means and by filing a notice of this filing in the related

miscellaneous case number, In Re Petitions Re Consent Order of Forfeiture, Case No: 1:18-mc-

167 (D.D.C.). I have also transmitted a copy of this filing via electronic mail to the following,

who do not appear to have registered for notice through the Court’s Electronic Filing System or

who have not filed an appearance in this matter:

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